           Case 3:17-cr-01314-JAH Document 232 Filed 10/20/20 PageID.713 Page 1 of 2
AO 245D (CASO Rev. 1/19) Judgment in a Criminal Case for Revocations


                                     UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA
             UN1TED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                                                     (For Revocation of Probation or Supervised Release)
                                                                     (For Offenses Committed On or After November I, 1987)
                                V.
             SALVADOR ISAY CASTILLO (7)
                                                                        CaseNumber:         3:17-CR-01314-JAH

                                                                     Karen M Stevens

REGISTRATION NO.                50349-298
                                                                     Defendant's Attorney                     FILt:D
•·                                                                                                             OCT 2 0 2020
THE DEFENDANT:                                                                                           CL~i/J1 • ~ ;~;~·;;;:c;T COUHT
                                                                                                      sourH~rn, P1s-m        OF CMIFCrnNlt~
 IZl admitted guilt to violation of allegation(s) No.       1-5                                       BY     ' . .                  DEPUTY


 D
                                                           - - - - - - - - - - - - - - after denial of guilty.
     was found guilty in violation of allegation(s) No.

Accordin~ly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                    Nature of Violation

              1-3                    nv3, Unlawful use of a controlled substance or Failure to Test; VCCA (Violent Crime Control
                                     Act)
              4-5                    nv34, Unauthorized entry into Mexico without permission of the court




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                      October 19 2020


                                                                          N. JOHN A. HOUSTON
                                                                           TED STATES DISTRICT JUDGE
            Case 3:17-cr-01314-JAH Document 232 Filed 10/20/20 PageID.714 Page 2 of 2
AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANI:                SALVADOR I AY CASTILLO (7)                                               Ju gment - Page 2 of 2
CASE NUMBER:              3:l 7-CR-01314-JAH

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
    12 months




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant shall surrender to the United States Marshal for this district:

       •      at _ _ _ _ _ _ _ _ _ A.M.                       on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       •      as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
        •     on or before
        •     as notified by the United States Marshal.
        •     as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

        Defendant delivered on                                            to _ _ _ _ _ _ _ _ _ _ _ _ _ __

 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                  UNITED STATES MARSHAL



                                      By                    DEPUTY UNITED STATES MARSHAL




                                                                                                   3:l 7-CR-01314-JAH
